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 7
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 8
                             UNITED STATES DISTRICT COURT
 9

10        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11

12

13   ANTHONY ROMERO, an Individual, CASE NO.:
14                Plaintiff,
15                                          COMPLAINT FOR DAMAGES
                  vs.
16

17   CITY OF BALDWIN PARK, a         GROUNDS FOR RELIEF
     Municipal Entity, OFFICER RYAN
18   FELTON, SERGEANT JOSEPH           1. Excessive Use of Force (42
19   MEISTER, AND DOES 1 through 10,      U.S.C. § 1983)
     Inclusive,                        2. Municipal and Supervisorial
20
                Defendants.               Liability (42 U.S.C. § 1983)
21

22                                          DEMAND FOR JURY TRIAL
23

24

25
     //
26

27   //
28                                         1
                                COMPLAINT FOR DAMAGES
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 1                            COMPLAINT FOR DAMAGES
 2
           COMES NOW Plaintiff, ANTHONY ROMERO, an Individual, alleging this
 3

 4   Complaint for Damages, against Defendants, CITY OF BALDWIN PARK,
 5
     OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and Defendant
 6

 7
     Officers, DOES 1 through 10, as follows:

 8                             JURISDICTION AND VENUE
 9
           1. The Court has original jurisdiction, pursuant to 28 U.S.C. §§ 1331 and
10

11   1343(a)(3) through (4), as Plaintiff, ANTHONY ROMERO, asserts claims arising
12
     under the laws of the United States, including 42 U.S.C. § 1983, along with the
13

14
     Fourth and Fourteenth Amendments to the Constitution of the United States.

15         2. This Court has supplemental jurisdiction over Plaintiff’s claims arising
16
     under the laws of the State of California, pursuant to 28 U.S.C. § 1367(a), as those
17

18   claims are so related to the federal claims that they form part of the same case or
19
     controversy under Article III of the Constitution of the United States.
20

21
           3. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b), because

22   Defendants, CITY OF BALDWIN PARK, OFFICER RYAN FELTON,
23
     SERGEANT JOSEPH MEISTER, and DOES 1 through 10, all reside in this
24

25   District, while any and all incidents, events, and occurrences, giving rise to the
26

27

28                                        2
                               COMPLAINT FOR DAMAGES
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 1   Causes of Action, contained herein this Complaint for Damages, had occurred
 2
     within this District.
 3

 4                           PARTIES AND RELEVANT ACTORS
 5
              4. Plaintiff, ANTHONY ROMERO, is an individual residing in the CITY
 6

 7
     OF HACIENDA HEIGHTS, California.

 8            5. At all relevant times, Defendant, CITY OF BALDWIN PARK, was a
 9
     municipal corporation, which exists under the Laws of the State of California, and
10

11   was the employer of Defendants, OFFICER RYAN FELTON, SERGEANT
12
     JOSEPH MEISTER, and DOES 1 through 10.
13

14
              6. At all relevant times, Defendants, OFFICER RYAN FELTON,

15   SERGEANT JOSEPH MEISTER, and DOES 1 through 10, were police officers,
16
     law enforcement officers, agents, and employees of Defendant, CITY OF
17

18   BALDWIN PARK, acting within the course and scope of such agency and
19
     employment, under “color of state law.” Said Defendants are statutorily liable
20

21
     under California law pursuant to California Government Code sections 820 and

22   815.2.
23
              7. On information and belief, at all relevant times, Defendants, OFFICER
24

25   RYAN FELTON, SERGEANT JOSEPH MEISTER, and DOES 1 through 10,
26

27

28                                         3
                                COMPLAINT FOR DAMAGES
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 1   were residents of the County of Los Angeles, California and are sued in their
 2
     individual capacities, as defined in the present Complaint for Damages.
 3

 4         8. At all relevant times, Defendants, OFFICER RYAN FELTON,
 5
     SERGEANT JOSEPH MEISTER, and DOES 1 through 10, were duly appointed
 6

 7
     officers, employees, or agents of Defendant, CITY OF BALDWIN PARK, subject

 8   to oversight and supervision by the CITY OF BALDWIN PARK’s elected and
 9
     non-elected officials.
10

11         9. At this time, the true names and capacities of Defendant Officers, DOES
12
     1 through 10, inclusive, are unknown to Plaintiff, who otherwise sues these
13

14
     Defendant Officers, DOES 1 through 10, by such fictitious names.

15         10. Plaintiff will seek leave to amend this Complaint to show the true names
16
     and capacities of these Defendant Officers, DOES 1 through 10, when they have
17

18   been ascertained.
19
                          FACTS COMMON TO ALL COUNTS
20

21
           11. On September 22, 2019, at approximately 2:53 a.m., Plaintiff,

22   ANTHONY ROMERO, was a sixteen (16) year old minor, who was traveling in
23
     back seat of a black Chrysler 300 sedan. (He has since reach the majority age).
24

25         12. The front seat was occupied by two other minors.
26

27

28                                       4
                              COMPLAINT FOR DAMAGES
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 1         13. The backseat was occupied by another minor, who was seated on the
 2
     left side of the automobile, and next to Plaintiff.
 3

 4         14. As the automobile was traveling down Fairgrove Ave, in the City of
 5
     Baldwin Park, California, it passed two (2) Baldwin Park police cruisers, near the
 6

 7
     intersection of Frazier Street and Fairgrove Avenue.

 8         15. The driver of the black Chrysler 300 sedan became scared, since he
 9
     apparently did not have a driver’s license, and began to accelerate.
10

11         16. This caused Officer Ernest Barrios, who was operating one of the police
12
     cruisers, to initiate a traffic stop of the black Chrysler 300.
13

14
           17. Seeing Officer Barrios initiate a traffic stop caused OFFICER RYAN

15   FELTON, who was operating the other police cruiser, to do the same.
16
           18. After a few blocks, the black Chrysler 300 stopped on Earl Avenue, just
17

18   south of Ramon Blvd., in the City of Baldwin Park, California.
19
           19. At this point, Plaintiff became afraid and exited the backseat of the
20

21
     automobile near the rear alleyway of 13116 Ramona Blvd.

22                                Excessive Force Incident #1
23
           20. OFFICER RYAN FELTON, who observed Plaintiff emerge from the
24

25   automobile, unholstered his firearm, and aimed it at Plaintiff through the window
26
     of his police cruiser.
27

28                                         5
                                COMPLAINT FOR DAMAGES
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 1         21. Seeing the Officer draw his fire arm caused Plaintiff to begin running
 2
     and OFFICER RYAN FELTON exited his police cruiser and began chasing
 3

 4   Plaintiff on foot through the alleyway.
 5
           22. During this time, OFFICER RYAN FELTON still had his firearm
 6

 7
     unholstered and pointed at Plaintiff as he chased him through the alleyway on foot.

 8         23. Plaintiff heard OFFICER RYAN FELTON’s footsteps behind him
 9
     along with his commands to stop running. Plaintiff obeyed the Officer’s
10

11   commands.
12
           24. OFFICER RYAN FELTON then commanded Plaintiff to put his hands
13

14
     in the air and to lay face-first on the ground. Plaintiff obeyed these commands.

15         25. OFFICER RYAN FELTON then commanded Plaintiff to spread his
16
     arms and hands on the floor. Plaintiff obeyed these commands as well.
17

18         26. At this time, Plaintiff was not resisting arrest, was not a physical threat
19
     to the Officer, was unarmed, had surrendered his person, and had his arms and
20

21
     hands visible to the Officer.

22         27. With his firearm still drawn, OFFICER RYAN FELTON approached
23
     Plaintiff and kicked him, with force, in the ribs. This bruised Plaintiff’s ribs and
24

25   side. It also terrified Plaintiff who thought he was going to die.
26

27

28                                        6
                               COMPLAINT FOR DAMAGES
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 1          28. OFFICER RYAN FELTON then proceeded to walk around Plaintiff and
 2
     kick him square in the face. This gave Plaintiff a black eye. It also bruised the
 3

 4   entire side of Plaintiff’s face.
 5
            29. The incident of excessive force was captured on the surveillance video
 6

 7
     from a local business and later collected by law enforcement.

 8                                Excessive Force Incident #2
 9
            30. OFFICER RYAN FELTON then detained Plaintiff, in handcuffs, and
10

11   walked him back to his police cruiser and searched him.
12
            31. OFFICER RYAN FELTON then placed Plaintiff, in the backseat of the
13

14
     police cruiser, while still handcuffed.

15          32. Another Officer, DOES 1 through 10, arrived and took Plaintiff out of
16
     the police cruiser. That Officer began to search Plaintiff as well.
17

18          33. OFFICER RYAN FELTON then placed Plaintiff back in backseat of the
19
     police cruiser, and without provocation, began to strike Plaintiff, with a closed fist,
20

21
     in the face and body.

22          34. This violence occurred within the presence of the other Officer, DOES 1
23
     through 10, at the scene. The other Officer did not intervene to prevent this
24

25   excessive use of force.
26

27

28                                         7
                                COMPLAINT FOR DAMAGES
     Case 2:21-cv-07293-FMO-AFM Document 1 Filed 09/10/21 Page 8 of 32 Page ID #:8



 1         35. OFFICER RYAN FELTON then began to slam Plaintiff’s face against
 2
     the “grate” of the police cruiser, that separated the front seat from the backseat.
 3

 4         36. Plaintiff was terrified, began to feel dizzy and confused, and sustained a
 5
     severe headache from this use of force.
 6

 7
           37. There was no reason for OFFICER RYAN FELTON to apply this level

 8   of force on Plaintiff who was cooperating, unarmed, handcuffed, restrained,
 9
     detained, compliant, and non-threatening.
10

11                                Excessive Force Incident #3
12
           38. Plaintiff was then transported to the Baldwin Park Police Station for
13

14
     booking and interrogation.

15         39. At the Police Station, Plaintiff was brought to a small room, with a few
16
     computers, where Officers write their police reports. At the time, there were two
17

18   Officers, DOES 1 through 10, already present in the room.
19
           40. Plaintiff was walked to the end of the room and ordered to sit on the
20

21
     floor facing the wall.

22         41. After several minutes had passed, one of the Officers, who was present
23
     in the room, began to leave while the other two (2) stayed behind.
24

25

26

27

28                                        8
                               COMPLAINT FOR DAMAGES
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 1         42. SERGEANT JOSEPH MEISTER and/or DOES 1 through 10 then
 2
     entered the room and said to Plaintiff, “so you are the little bitch that tried to run
 3

 4   away.”
 5
           43. SERGEANT JOSEPH MEISTER and/or DOES 1 through 10 then
 6

 7
     struck Plaintiff in the head, using a closed fist. This Officer then sat next to the

 8   other Officers, DOES 1 through 10, who were still in the room.
 9
           44. SERGEANT JOSEPH MEISTER and/or DOES 1 through 10 then
10

11   proceeded to continue using derogatory and abusive language towards Plaintiff as
12
     he continued to sit on the floor.
13

14
           45. No Officer intervened to stop any of this misconduct.

15         46. There was no reason to use this level of physical force on Plaintiff who
16
     was restrained, detained, cooperative, compliant, non-resisting, non-threatening,
17

18   and non-violent, and was sitting on the floor facing away from Officers.
19
                                 Excessive Force Incident #4
20

21
           47. After several more minutes, Plaintiff began to fall asleep and started

22   resting his head against the wall. It was very early in the morning at this point.
23
           48. DOES 1 through 10 and/or SERGEANT JOSEPH MEISTER then
24

25   entered the room and told Plaintiff to “wake-up” and to not “be falling asleep in his
26
     house.”
27

28                                         9
                                COMPLAINT FOR DAMAGES
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 1            49. DOES 1 through 10 and/or SERGEANT JOSEPH MEISTER then
 2
       proceeded to strike Plaintiff a few times in the head. This Officer and/or
 3

 4     SERGEANT JOSEPH MEISTER then threatened that, “if I see you fall asleep
 5
       again, I am going to fuck you up more.”
 6

 7
              50. This Officer and/or SERGEANT JOSEPH MEISTER then proceeded to

 8     speak to the three (3) Officers already in the room and then left.
 9
                              Plaintiff’s Mother Arrives at the Jail
10

11            51. At some point thereafter, Plaintiff’s cellphone began to ring. DOES 1
12
       through 10 then took the cellphone, saw that it was unlocked, and began searching
13

14
       it. This Officer then kept the cellphone.

15            52. Another Officer and/or DOES 1 through 10 then entered the room and
16
       began asking Plaintiff about the age of one of his friends, Lisa, who was also in the
17

18     car.
19
              53. Plaintiff responded that she was sixteen (16) years old. This Officer
20

21
       then told Plaintiff that even though she was sixteen years old that “he would still

22     f*ck her.”
23
              54. Meanwhile, OFFICER RYAN FELTON then used Plaintiff’s cellphone
24

25     to call Plaintiff’s Mother, ANGELICA ESTRADA.
26

27

28                                         10
                                 COMPLAINT FOR DAMAGES
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 1           55. OFFICER RYAN FELTON told Plaintiff’s Mother that Plaintiff was
 2
       arrested and being held at the Baldwin Park Police Station and to come get him.
 3

 4           56. Plaintiff’s Mother arrived at the Police Station at around 5:00 a.m. and
 5
       was walked through the backdoor and into the hallway.
 6

 7
             57. OFFICER RYAN FELTON had Plaintiff’s Mother stop at the

 8     breakroom where he sat her down at a table.
 9
             58. OFFICER RYAN FELTON explained to Plaintiff’s Mother that her son
10

11     was very lucky since he could have been shot. He repeats this again and hands her
12
       a citation for her son.
13

14
             59. OFFICER RYAN FELTON then explained to Plaintiff’s Mother that he

15     “had to rough [Plaintiff] up in order to teach him a lesson.”
16
             60. Plaintiff’s Mother was confused about what OFFICER RYAN FELTON
17

18     had just said to her.
19
             61. Then DOES 1 through 10 walked Plaintiff into the room and she
20

21
       immediately began to cry and tears ran down her face.

22           62. Plaintiff had a black eye; had a bruised face; had cuts and abrasions on
23
       his arms, wrists, hands, and body; and was covered in the Officers’ “shoeprints”
24

25     from when they were “stomping” on his legs and body.
26

27

28                                         11
                                 COMPLAINT FOR DAMAGES
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 1           63. At this moment, Plaintiff’s Mother was overcome with fear for her and
 2
       Plaintiff’s safety. She wanted to leave the police station as quickly as possible.
 3

 4                         Plaintiff was taken to the emergency room
 5
             64. Plaintiff’s Mother immediately took him to the Emergency Room at
 6

 7
       Kaiser Permanente while Plaintiff explained to her everything that had happened

 8     that morning.
 9
             65. Plaintiff’s Mother also took several pictures of her son’s injuries and
10

11     DOES 1 through 10’s “footprints” that covered his pants and body.
12
             66. At the emergency room, nurses and medical professionals were deeply
13

14
       concerned about Plaintiff’s injuries and current state.

15           67. As such, the medical professionals immediately reported this to the
16
       Baldwin Park Police Station and filed a criminal complaint against OFFICER
17

18     RYAN FELTON and DOES 1 through 10.
19
             68. The Baldwin Park Police Station then made a criminal report regarding
20

21
       this incident that the hospital reported.

22           69. After leaving the hospital, Plaintiff was brought to his Aunt’s house, in
23
       Hacienda Heights, California, where he often stays.
24

25

26

27

28                                         12
                                 COMPLAINT FOR DAMAGES
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 1           70. After learning about the incident, Plaintiff’s Aunt and his Mother went
 2
       to the Baldwin Park Police Station to file a complaint against OFFICER RYAN
 3

 4     FELTON and DOES 1 through 10.
 5
                  Officers are being criminally investigated for this incident
 6

 7
                    by Internal Affairs and the District Attorney’s Office

 8           71. A week after the incident, Plaintiff’s Aunt and Mother went to a
 9
       Baldwin Park City Council Meeting and spoke about the Officers’ misconduct.
10

11           72. After the meeting, a Detective from the Baldwin Park Police Station
12
       approached Plaintiff’s Aunt and Mother and handed them his card.
13

14
             73. This Detective told them that there was a video of the incident(s) and

15     that there were several inconsistencies with OFFICER RYAN FELTON,
16
       SERGEANT JOSEPH MEISTER, and the DOES 1 through 10’s statements.
17

18           74. This Detective further assured them that they were not going to ignore
19
       the incident and that they were going to do a thorough investigation.
20

21
             75. A few weeks or months later, Detectives from either the Los Angeles

22     County Sherriff’s Department and/or Baldwin Park Police Department met
23
       Plaintiff’s family at his Aunt’s house in Hacienda Heights, California.
24

25           76. They returned Plaintiff’s cellphone and further assured them that they
26
       were investigating the incident of Officer misconduct.
27

28                                        13
                                COMPLAINT FOR DAMAGES
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 1            77. Eventually, the matter was referred to the Los Angeles County District
 2
       Attorney’s Office for the filing of criminal charges against OFFICER RYAN
 3

 4     FELTON, SERGEANT JOSEPH MEISTER, and/or the DOES 1 through 10.
 5
                                        Plaintiff’s Injuries
 6

 7
              78. This incident has caused physical, emotional, and psychological injuries

 8     to Plaintiff.
 9
              79. Plaintiff has symptoms and/or disorders of trauma, anxiety, depression,
10

11     sleeping problems, nightmares, and other affective problems.
12
              80. Plaintiff has scaring on his wrists and hands from when the Officers had
13

14
       restrained him and were assaulting him.

15            81. Plaintiff’s entire personality has changed as he is quieter; more reserved;
16
       less social; never comes out of his room; and quit doing activities he used to enjoy.
17

18            82. After the incident, Plaintiff had a black eye; bruised face; abrasions on
19
       his arms, hands, wrists, body, and head; and symptoms of trauma, depression,
20

21
       anxiety, sleep disorders, and personality changes.

22            83. Ultimately, Plaintiff has suffered general, special, economic, and non-
23
       economic damages as a result of this incident, which he will be seeking at the time
24

25     of trial, along with punitive damages against the Officers.
26
       //
27

28                                         14
                                 COMPLAINT FOR DAMAGES
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 1                                           COUNT 1
 2
        Excessive Force in Violation of 42 U.S.C. § 1983 and Fourth Amendment to
 3

 4                            the Constitution of the United States
 5
           [Alleged Against Defendant, OFFICER RYAN FELTON, SERGEANT
 6

 7
                        JOSEPH MEISTER, and DOES 1 through 10]

 8           84. Plaintiff, ANTHONY ROMERO, repeats and re-alleges each and every
 9
       allegation, in Paragraphs 1 through 83 of this Complaint for Damages, with the
10

11     same force and effect as if fully set forth and stated herein.
12
             85. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
13

14
       DOES 1 through 10, were acting, “under color of state law,” as uniformed, on-

15     duty, armed police officers, employed by Defendant, CITY OF BALDWIN PARK,
16
       on the date and time that they investigated, encountered, detained, arrested,
17

18     assaulted, injured, and violated Plaintiff, thereby depriving him of his Fourth
19
       Amendment Rights.
20

21
             86. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and

22     DOES 1 through 10 intentionally “seized” Plaintiff, when they initiated a “stop,”
23
       detention, and/or arrest of his person, thereby preventing Plaintiff, or any
24

25     reasonable person under the same circumstances, from physically leaving, walking
26
       away, ignoring the Officers’ presence, or believing that they were free to do any of
27

28                                         15
                                 COMPLAINT FOR DAMAGES
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 1     the foregoing actions. This was further demonstrated by pointing a loaded firearm
 2
       at Plaintiff as he emerged from the automobile; placing restraints on his person;
 3

 4     placing him in the backseat of a police cruiser; and taking him to the Police Station
 5
       and detaining him in the report writing room where he was forced to sit on the
 6

 7
       ground facing the wall while armed Officers surrounded and abused him.

 8           87. This seizure of Plaintiff was intentional since OFFICER RYAN
 9
       FELTON, SERGEANT JOSEPH MEISTER, and DOES 1 through 10 pointed a
10

11     loaded firearm at him, verbally and physically commanded Plaintiff to “stop,” and
12
       immediately detained and handcuffed him to the extent that any reasonable person,
13

14
       under the circumstances, would not have felt “free to leave” or “walk away,”

15     especially in light of the aggressive, uniformed, armed Officers who were present
16
       at the scene, who were present while placing him the police cruiser, and who were
17

18     present while detaining him at the police station.
19
             88. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
20

21
       DOES 1 through 10 proceeded to use physical force when they pointed a loaded

22     firearm at Plaintiff as he emerged from the automobile; when they kicked him in
23
       the side, face, and eye; when they struck him in the face, head, body; when they
24

25     slammed him into the grate of the police cruiser; when they were stomping on him
26

27

28                                        16
                                COMPLAINT FOR DAMAGES
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 1     while in their custody; and when they struck him several times in the head at the
 2
       police station.
 3

 4           89. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
 5
       DOES 1 through 10 used their authority as uniformed, armed police officers to
 6

 7
       prevent Plaintiff’s freedom of movement, while Plaintiff laid face-first on the

 8     ground with his arms and hands spread over his head; when they restrained his
 9
       arms and wrists behind his back; when they placed him in the back seat of the
10

11     police cruiser and slammed him face first into the metal grate of the police cruiser
12
       while striking him with closed fists; and when they struck him several times in the
13

14
       head at the police station on multiple occasions as he was sitting on the floor facing

15     the wall.
16
             90. The seizure of Plaintiff’s person was unreasonable, under the Fourth
17

18     Amendment, since OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER,
19
       and DOES 1 through 10 proceeded to use excessive force when they pointed a
20

21
       loaded firearm at him, as he emerged from the automobile, and repeatedly,

22     feloniously, violently, and unreasonably struck a restrained, non-resistant,
23
       compliant, non-threatening, non-dangerous, responsive, unarmed, and cooperative
24

25     Plaintiff in the face, head, and body, as OFFICER RYAN FELTON, SERGEANT
26

27

28                                         17
                                 COMPLAINT FOR DAMAGES
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 1     JOSEPH MEISTER, and DOES 1 through 10 made their arrest, or were allegedly
 2
       defending themselves, and/or attempting to prevent Plaintiff from fleeing.
 3

 4           91. The force that was applied on Plaintiff was excessive since it was not
 5
       objectively reasonable under all of the circumstances. As Plaintiff emerged from
 6

 7
       the automobile, there was no reason to point a loaded firearm at his person nor

 8     chase him with said weapon down an alleyway. At the scene Plaintiff had
 9
       surrendered himself, was cooperative, non-threatening, unarmed, and lying face-
10

11     first against the pavement with this hands and arms above his head; was restrained,
12
       non-resistant, non-threatening, and cooperative when placing him in the backseat
13

14
       of the police cruiser; and was restrained, non-resistant, non-threatening, and

15     cooperative while at the police station. There was no reason to use any force
16
       against him at any point during their arrest, detention, and holding.
17

18           92. Plaintiff did not pose an immediate threat to the safety of OFFICER
19
       RYAN FELTON, SERGEANT JOSEPH MEISTER, and DOES 1 through 10 or
20

21
       other persons at the time he emerged from the automobile; when he had

22     surrendered himself to Officers at the scene; when he had been handcuffed and
23
       placed in the backseat of the police cruiser; and when he was restrained and sitting
24

25     on the floor facing the wall of the police station while surrounded by several armed
26

27

28                                         18
                                 COMPLAINT FOR DAMAGES
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 1     police officers. At no point, during any of these situations, was Plaintiff an
 2
       immediate threat to the safety or any of the Officers of other persons.
 3

 4           93. At the time OFFICER RYAN FELTON, SERGEANT JOSEPH
 5
       MEISTER, and DOES 1 through 10 applied force on Plaintiff, he was not actively
 6

 7
       resisting arrest or attempting to evade arrest by flight. As previously mentioned,

 8     Plaintiff had surrendered himself to Officers at the scene; was lying face first on
 9
       the pavement with his hands and arms above his head; was restrained in the
10

11     backseat of the police cruiser; and was restrained while sitting on the floor of the
12
       police station surrounded by several armed police officers. At no point, when
13

14
       force was applied to Plaintiff, was he resisting arrest or attempting to flee.

15           94. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
16
       DOES 1 through 10 had a tremendous amount of time to determine the type and
17

18     amount of force that reasonably appeared necessary while detaining Plaintiff.
19
       There were no changing circumstances during their detention that may have
20

21
       warranted any use of force against Plaintiff who had surrendered himself; was

22     restrained at the scene and police station; was cooperative and non-resisting; was
23
       not attempting to fight Officers or flee the scene; and was not a threat to anyone’s
24

25     safety.
26

27

28                                         19
                                 COMPLAINT FOR DAMAGES
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 1           95. The type and amount of forced used by OFFICER RYAN FELTON,
 2
       SERGEANT JOSEPH MEISTER, and DOES 1 through 10 was unreasonable
 3

 4     under the circumstances. There was no reason to point a loaded firearm at Plaintiff
 5
       when he emerged from the automobile or to kick Plaintiff in the face, eye, and side
 6

 7
       of the body while he was laying on the ground surrendering to Officers. There was

 8     no reason to strike Plaintiff or slam his face into the metal grate while he was
 9
       restrained and cooperating in the backseat of the police cruiser. There was no
10

11     reason to strike Plaintiff several times in the head at the police station while he was
12
       sitting on the floor restrained facing the wall.
13

14
             96. There were several available alternative methods to take Plaintiff into

15     custody and/or to subdue him, that did not require the use of any force, since he
16
       was cooperative, non-resisting, compliant, and had surrendered. Plaintiff was on
17

18     the floor lying face first on the pavement with his hands above his head. Plaintiff
19
       was restrained, cooperating, and placed in the backseat of the police cruiser. There
20

21
       was also no reason to use any force against him while he was restrained at the

22     police station sitting on the floor facing the wall, especially when he began to fall
23
       asleep. No force was necessary in detaining Plaintiff.
24

25           97. It was obvious that Plaintiff was not emotionally disturbed nor was he
26
       displaying any type of psychotic behavior. Plaintiff’s behavior in surrendering
27

28                                         20
                                 COMPLAINT FOR DAMAGES
     Case 2:21-cv-07293-FMO-AFM Document 1 Filed 09/10/21 Page 21 of 32 Page ID #:21



 1     himself, following commands, cooperating with the detention, and behaving at the
 2
       police station demonstrate that there were no circumstances that indicated Plaintiff
 3

 4     may have been emotionally disturbed or displaying psychotic behavior. Plaintiff
 5
       was cooperative, non-resisting, compliant, non-threatening, unarmed, non-
 6

 7
       threatening, and restrained.

 8           98. Due to the degree of force applied on Plaintiff, under the circumstances,
 9
       the actions of OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
10

11     DOES 1 through 10, were the cause-in-fact of Plaintiff’s injuries that he sustained.
12
       He would not have sustained his injuries had it not been for the amount of force
13

14
       used by these Officers during the arrest.

15           99. Furthermore, due to the degree of force applied on Plaintiff, under the
16
       circumstances, it was foreseeable that the actions of OFFICER RYAN FELTON,
17

18     SERGEANT JOSEPH MEISTER, and DOES 1 through 10, were the proximate
19
       cause of Plaintiff’s injuries that he sustained. These injuries were the foreseeable
20

21
       consequence of using this amount of force on Plaintiff.

22           100. Additionally, the conduct of OFFICER RYAN FELTON, SERGEANT
23
       JOSEPH MEISTER, and DOES 1 through 10 were a substantial factor in causing
24

25     Plaintiff’s injuries, which would not have occurred had it not been for the amount
26
       of force that was applied on his person.
27

28                                         21
                                 COMPLAINT FOR DAMAGES
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 1           101. As a result, Plaintiff experienced emotional and psychological distress,
 2
       pain and suffering, physical injuries, humiliation and embarrassment, fears for this
 3

 4     health and wellbeing, general and special damages, and economic and non-
 5
       economic damages, in an amount to be proven at trial.
 6

 7
             102. Plaintiff alleges that OFFICER RYAN FELTON, SERGEANT

 8     JOSEPH MEISTER, and DOES 1 through 10 had acted with a willful, wanton,
 9
       malicious, and reckless disregard for his rights, safety, and wellbeing, thereby
10

11     warranting the imposition of exemplary and punitive damages.
12
             103. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, and
13

14
       DOES 1 through 10 acted with ill will, spite, and with the purpose of injuring

15     Plaintiff, and acted with complete indifference to his safety and rights, as an
16
       absolute misuse and abuse of their authority and power, thereby taking advantage
17

18     of Plaintiff’s vulnerability, weakness, compliance, and helplessness, while he laid
19
       face-first on the pavement with his hands and arms above his head as OFFICER
20

21
       RYAN FELTON kicked him in the side and face; while he was restrained at the

22     scene and placed in the backseat of the police cruiser while OFFICER RYAN
23
       FELTON struck Plaintiff several times and slammed his face into the metal grate
24

25     while the other Officers watched; and while Plaintiff sat restrained on the floor of
26
       the police station facing the wall as Officers struck him several times in the head
27

28                                         22
                                 COMPLAINT FOR DAMAGES
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 1     and used derogatory language towards him. There was no reason to use this
 2
       amount of force on this Minor during the detention, since he was cooperative,
 3

 4     unarmed, restrained, surrendered, compliant, non-violent, and non-threatening.
 5
       There was also no reason to point a loaded firearm at Plaintiff as he emerged from
 6

 7
       the automobile or began to run down the alleyway.

 8           104. Plaintiff further claims attorney fees and legal costs pursuant to 42
 9
       U.S.C. § 1988, under this claim of relief.
10

11                                           COUNT 2
12
           Supervisorial and Municipal Liability in Violation of 42 U.S.C. § 1983
13

14
                      [Alleged Against Defendant, City of Baldwin Park]

15           105. Plaintiff, ANTHONY ROMERO, repeats and re-alleges each and
16
       every allegation, in Paragraphs 1 through 104 of this Complaint for Damages, with
17

18     the same force and effect as if fully set forth and stated herein.
19
             106. Plaintiff alleges that the express policies and/or widespread and/or
20

21
       longstanding customs and practices of Defendant, CITY OF BALDWIN PARK,

22     actually and proximately caused Plaintiff’s damages, including but not limited to,
23
       the deprivation of his Fourth Amendment Rights, when OFFICER RYAN
24

25     FELTON, SERGEANT JOSEPH MEISTER and DOES 1 through 10 applied
26
       excessive and objectively unreasonable force upon his person, for which
27

28                                         23
                                 COMPLAINT FOR DAMAGES
     Case 2:21-cv-07293-FMO-AFM Document 1 Filed 09/10/21 Page 24 of 32 Page ID #:24



 1     Defendant, CITY OF BALDWIN PARK, is directly liable.
 2
             107. As previously alleged, OFFICER RYAN FELTON, SERGEANT
 3

 4     JOSEPH MEISTER, and DOES 1 through 10 were uniformed, armed police
 5
       officers, who were acting under the “color of state law,” as employees of
 6

 7
       Defendant, CITY OF BALDWIN PARK, who intentionally seized Plaintiff, by

 8     using physical force, and kicked him in the face and side of the body while he was
 9
       laying on the floor face-first with his hands and arms above his head; when they
10

11     repeatedly struck him and slammed him into the metal grate while they were
12
       placing him in the backseat of the police cruiser; and while at the police station
13

14
       when they struck him several times in the head as he was sitting on the floor,

15     restrained, and facing the wall.
16
             108. When OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER,
17

18     and DOES 1 through 10 applied excessive force against Plaintiff, they either acted
19
       pursuant to an expressly adopted official policy or a widespread or longstanding
20

21
       practice or custom of Defendant, CITY OF BALDWIN PARK, or were the

22     product of the foregoing, which encouraged, supported, tolerated, condoned,
23
       protected, and promoted officer misconduct, excessive use of force or brutality,
24

25     objectively unreasonable seizures, and violent and aggressive police tactics.
26

27

28                                         24
                                 COMPLAINT FOR DAMAGES
     Case 2:21-cv-07293-FMO-AFM Document 1 Filed 09/10/21 Page 25 of 32 Page ID #:25



 1           109. Specifically, Defendant, CITY OF BALDWIN PARK, maintains
 2
       official policies and/or widespread and/or longstanding practices or customs of:
 3

 4              a) creating false records and narratives regarding use of force incidents
 5
                   whereby Officers allege that the suspect was attacking, threatening,
 6

 7
                   resisting, obstructing, or assaulting them to the extent that they were

 8                 required to use this level of physical force against them;
 9
                b) using physical force on suspects who were shielding, protecting, or
10

11                 defending themselves and then falsely, dishonestly, and unreasonably
12
                   claiming that they were “resisting” arrest or that they were “afraid for
13

14
                   their safety” thereby justifying their continued use of physical force

15                 on them;
16
                c) initiating investigatory detentions and stops based on a person’s
17

18                 perceived race, ethnicity, clothing, and neighborhood or a “hunch” by
19
                   the officer(s) that this person could be committing a crime, while
20

21
                   applying use of force on such persons to a higher degree than others;

22              d) failing to create a “paper trail” of Officer misconduct by systemically
23
                   rejecting citizen complaints at the early stages of an internal affairs or
24

25                 department investigation;
26

27

28                                        25
                                COMPLAINT FOR DAMAGES
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 1             e) failing to adequately investigate incidents where Officers have been
 2
                  accused of misconduct and violating civil rights of persons within the
 3

 4                community;
 5
               f) assigning problem officers or employees who “work in gray” to reject
 6

 7
                  the claims of officer misconduct during the initial stages of an internal

 8                affairs or department investigation;
 9
               g) assigning officers who are the subject of internal affairs investigations
10

11                to the Department of Internal Affair while the investigation is
12
                  pending;
13

14
               h) reassigning officers to administrative duties or allowing them take

15                “time off” in order to avoid any suspensions or discipline on their
16
                  records;
17

18             i) maintaining vague, ambiguous, and biased records that do not
19
                  properly, adequately, or accurately apprise others of the officers’ past
20

21
                  misconduct;

22             j) failing to internally investigate any cases that are pending litigation
23
                  which usually relate to the most serious forms of officer misconduct;
24

25             k) failing to internally investigate claims that have not been internally
26
                  filed but were externally reported or known by the Department;
27

28                                        26
                                COMPLAINT FOR DAMAGES
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 1             l) hiding behind settlements, general releases, and “no fault admissions”
 2
                  related to lawsuits or government claims;
 3

 4             m) transferring, relocating, and/or promoting Officers or allowing them to
 5
                  resign prior any internal investigation completing or taking place;
 6

 7
               n) failing to adequately flag problem officers within the department;

 8             o) failing to adequately retrain problem officers within the department;
 9
               p) failing to properly discipline, suspend, or terminate problem officers
10

11                within the department.
12
               q) transferring, moving, and/or relocating its problem Officers to various
13

14
                  departments, stations, divisions, and positions in order to essentially

15                “bury,” ignore, dilute, hide, and spread these problem Officers, along
16
                  with their incidents of misconduct, to other LAPD Branch Stations,
17

18                and to evade internal, disciplinary, and other investigations.
19
               r) allowing its Officers to participate in “renegade,” “gang-like,” cliques,
20

21
                  which facilitate, conspire, promote, organize, encourage, and commit

22                acts of police brutality, aggressive police tactics, and officer
23
                  misconduct.
24

25

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28                                        27
                                COMPLAINT FOR DAMAGES
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 1              s) allowing acts of excessive force to be committed against suspects,
 2
                    inmates, or defendants, in order for an Officer to gain membership
 3

 4                  into one of these renegade gang-like cliques;
 5
                t) allowing Officers to formalize their membership into these renegade
 6

 7
                    cliques with a “tattoo” that signifies that this particular Officer has

 8                  “earned his ink;”
 9
                u) allowing Officers to encourage, intimidate, and compel others to
10

11                  “work in gray,” or maintain a “code of silence,” or “blue code,”
12
                    regarding these unconstitutional abuses in order to protect members,
13

14
                    recruit younger deputies, and earn promotions;

15              v) allowing these secret societies of tattooed deputies in the East Los
16
                    Angeles area to continue operating despite the FBI investigating these
17

18                  renegade cliques.
19
             110. These policies, customs, and practices further allows Defendant, CITY
20

21
       OF BALDWIN PARK, to continue employing problem Officers within the CITY

22     OF BALDWIN PARK, or to move them to other Cities and Counties, without
23
       leaving a “paper trail” of Officer misconduct.
24

25           111. Defendant, CITY OF BALDWIN PARK, along with its Police Chiefs
26
       and Police Department(s), which ratify, adopt, condone, comply, and follow these
27

28                                         28
                                 COMPLAINT FOR DAMAGES
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 1     policies, customs, and practices, further maintain mutual, unspoken agreements
 2
       and reciprocity with other municipalities to accept their problem Officers as well.
 3

 4           112. OFFICER RYAN FELTON, SERGEANT JOSEPH MEISTER, AND
 5
       DOES 1 through 10 were involved in several previous incidents involving
 6

 7
       excessive force and subsequent lawsuits. However, pursuant to the foregoing

 8     policies, customs, and practices, OFFICER RYAN FELTON, SERGEANT
 9
       JOSEPH MEISTER, and DOES 1 through 10 were allowed to remain employed,
10

11     untrained, unsupervised, undisciplined, and uninvestigated by Defendant, CITY
12
       OF BALDWIN PARK, which caused the injuries that Plaintiff had sustained.
13

14
             113. Defendant, CITY OF BALDWIN PARK, failed to supervise these

15     problem Officers with a history of excessive force and misconduct which caused
16
       the injuries to Plaintiff, who was another victim of these Officers’ excessive use of
17

18     force that was unsupervised, unmonitored, and unaddressed by the CITY OF
19
       BALDWIN PARK.
20

21
             114. As such, these expressly adopted official policies or widespread,

22     longstanding practices or customs constitute a standard operating procedure of
23
       Defendant, CITY OF BALDWIN PARK, which has resulted in repeated incidents
24

25     of officer involved shootings and excessive force, against members of the general
26
       public, inmates, suspects, and defendants.
27

28                                        29
                                COMPLAINT FOR DAMAGES
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 1            115. Ultimately, these official policies and/or widespread, longstanding
 2
       practices or customs of Defendant, CITY OF BALDWIN PARK, are so closely
 3

 4     related to the deprivation of Plaintiff’s Fourth Amendment Rights, that they were
 5
       the moving force that caused his injuries. Plaintiff would not have sustained his
 6

 7
       injuries had Defendant, CITY OF BALDWIN PARK, maintained constitutional

 8     practices and safeguards to prevent the continuous acts of excessive force, by its
 9
       officers, in violation of the Fourth and Fourteenth Amendments.
10

11            116. As a result, Plaintiff experienced emotional and psychological distress,
12
       pain and suffering, physical injuries, humiliation and embarrassment, fears for this
13

14
       health, wellbeing, and safety, general damages, and special damages in an amount

15     to be proven at trial.
16
              117. Plaintiff further claims attorney fees and legal costs pursuant to 42
17

18     U.S.C. § 1988, under this claim of relief.
19
                                    PRAYER FOR RELIEF
20

21
              WHEREFORE, Plaintiff, ANTHONY ROMERO, respectfully requests

22     entry of judgement, in his favor, against Defendants as follows:
23
                 a) For general damages in an amount to be proven at trial;
24

25               b) For special damages in an amount to be proven at trial;
26
                 c) For punitive damages in an amount to be proven at trial;
27

28                                         30
                                 COMPLAINT FOR DAMAGES
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 1             d) For interests at the time of trial;
 2
               e) For an award of reasonable attorney fees and costs as to Plaintiff’s
 3

 4                federal civil rights claims pursuant to 42 U.S.C. § 1988.
 5
               f) For an award of litigation costs and expenses;
 6

 7
               g) For any other equitable and legal relief that the Court deems just,

 8                proper, and appropriate.
 9
                                              Respectfully submitted,
10

11          Date: 07/08/21                    THE OUCHI LAW FIRM, A.P.C.
12
                                              Wesley G. Ouchi /s/
13                                            WESLEY G. OUCHI
14
                                              Attorney for Plaintiff,
                                              ANTHONY ROMERO
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28                                        31
                                COMPLAINT FOR DAMAGES
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 1                            DEMAND FOR JURY TRIAL
 2
             Plaintiff, ANTHONY ROMERO, hereby respectfully demands a trial by
 3

 4     jury in this matter.
 5
                                         Respectfully submitted,
 6

 7
             Date: 08/04/21              THE OUCHI LAW FIRM, A.P.C.

 8                                       Wesley G. Ouchi /s/
 9                                       WESLEY G. OUCHI
                                         Attorney for Plaintiff,
10
                                         ANTHONY ROMERO
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28                                      32
                              COMPLAINT FOR DAMAGES
